                                UNPUBLISHED

                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT


                                No. 16-6542


ALFONZA HARDY GREENHILL,

                  Plaintiff - Appellant,

            v.

HAROLD W. CLARKE, Director of the               State of Virginia
Department of Corrections; A. DAVID             ROBINSON, Chief of
Corrections Operations of the State of          Virginia Department
of Corrections; EARL BARKSDALE, Warden          of Red Onion State
Prison,

                  Defendants - Appellees.



Appeal from the United States District Court for the Western
District of Virginia, at Roanoke.   James P. Jones, District
Judge. (7:16-cv-00068-JPJ-RSB)


Submitted:     November 18, 2016              Decided:   December 22, 2016


Before NIEMEYER and MOTZ, Circuit Judges, and HAMILTON, Senior
Circuit Judge.


Affirmed in part, vacated in part, and remanded by unpublished
per curiam opinion.


Alfonza Hardy Greenhill, Appellant Pro Se.     Laura Haeberle
Cahill, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond,
Virginia, for Appellees.


Unpublished opinions are not binding precedent in this circuit.



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PER CURIAM:

      Alfonza Hardy Greenhill appeals the district court’s order

denying his request for a preliminary injunction in this action

brought pursuant to 42 U.S.C. § 1983 (2012) and the Religious

Land Use and Institutionalized Persons Act (RLUIPA), 42 U.S.C.

§§ 2000cc     to    2000cc-5     (2012).          Greenhill,     a    Muslim    inmate

currently confined in segregation, sought an injunction ordering

prison    officials      to    provide      a    television     broadcast      of     the

Jum’ah, a revision in the prison’s grooming policy, and a change

in how he is served halal meals.                  The district court denied the

requested    injunction        because      Greenhill    did    not   show     that    he

could satisfy any of the factors set forth in Winter v. Natural

Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).                               On

appeal, Greenhill only challenges the district court’s denial of

injunctive     relief         regarding         his   access     to    the     Jum’ah.

Accordingly,       we   affirm   the     district     court’s    order   as     to    its

disposition of the grooming policy and halal meal claims.                             See

4th Cir. R. 34(b); Jackson v. Lightsey, 775 F.3d 170, 177 (4th

Cir. 2014); Williams v. Giant Food Inc., 370 F.3d 423, 430 n.4

(4th Cir. 2004).

      As to Greenhill’s claim concerning access to the Jum’ah,

the   district      court     made     no    specific    findings      of     fact     or

conclusions of law in denying this claim.                      Rule 52(a)(2), Fed.

R. Civ. P., requires that the district court make particularized

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findings of fact supporting its decision to grant or deny a

preliminary injunction; such findings are necessary in order for

an appellate court to conduct meaningful appellate review.                         See

H & R Block Tax Servs. LLC v. Acevedo-Lopez, 742 F.3d 1074, 1078

(8th Cir. 2014).      In the absence of any such specific findings,

we are constrained to conclude that the district court abused

its   discretion     in    denying     the    requested    injunction         as    to

Greenhill’s     Jum’ah     claim.      See    WV   Ass’n   of     Club    Owners     &

Fraternal Servs., Inc. v. Musgrave, 553 F.3d 292, 298 (4th Cir.

2009) (stating standard of review).

      Accordingly, we affirm the district court’s order as to the

grooming    policy   and    halal    food    claims,    vacate    it     as   to   the

Jum’ah claim, and remand for further proceedings.                       We dispense

with oral argument because the facts and legal contentions are

adequately    presented     in   the   materials       before    this    court     and

argument would not aid the decisional process.

                                                                AFFIRMED IN PART,
                                                                 VACATED IN PART,
                                                                     AND REMANDED




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